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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

           [PROPOSED] STIPULATED ORDER GRANTING
     EXTENSION OF TIME TO RESPOND TO DEFENDANTS’ MOTION

       This Stipulation is made and entered into by all Parties with reference to the

following facts:

       1.    Defendants filed a Motion to Allow Disposition of Voting Equipment

             (Doc. 1825, “Motion”) on April 5, 2024.

       2.    Plaintiffs’ response(s) are due on Friday, April 19, 2024. Any reply is

             due on May 3, 2024. L.R. 7.1(B) and (C).

       3.    The parties agree that additional time is needed to respond to the

             Motion because the parties are attempting to negotiate a stipulated

             order allowing for the disposal of DRE-related voting equipment. The

             requested extension is for a short period and will not affect any other

             deadlines set by the Court.




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      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by

and between the parties, through their respective counsel, that Plaintiffs’

response(s) are due on May 3, 2024, and Defendants’ reply, if any, is due on May

17, 2024.



      IT IS SO ORDERED this ____ day of April, 2024.




                                       ____________________________________

                                       U.S. District Court Judge Amy Totenberg




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    Respectfully submitted this 18th day of April, 2024.

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DONNA CURLING, ET AL.,
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                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of LR 5.1, using font type of Times New

Roman and a point size of 14.

                                             /s/ David D. Cross
                                            David D. Cross




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Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, a copy of the foregoing STIPULATED

ORDER GRANTING EXTENSION OF TIME TO RESPOND TO

DEFENDANTS’ MOTION was electronically filed with the Clerk of Court using

the CM/ECF system, which will automatically send notification of such filing to all

attorneys of record.

                                             /s/ David D. Cross
                                            David D. Cross




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